      Case 1:15-cv-01392-RJL Document 56-1 Filed 04/02/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS,

and
                                      Civil Action No. 15-cv-01392 (RJL)
THE ASSOCIATED PRESS
          Plaintiffs,

      v.

FEDERAL BUREAU OF
INVESTIGATION,

and

UNITED STATES DEPARTMENT
OF JUSTICE
           Defendants.



THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS
         Plaintiff,
                                      Civil Action No. 18-cv-00345 (RJL)
      v.

FEDERAL BUREAU OF
INVESTIGATION,

and

UNITED STATES DEPARTMENT
OF JUSTICE
           Defendants.



                           [PROPOSED} ORDER
        Case 1:15-cv-01392-RJL Document 56-1 Filed 04/02/20 Page 2 of 2




       Upon consideration of Plaintiffs’ Consent Motion for Stay of Time to File Motion for

Attorneys’ Fees and Costs Pending Appeal and the entire record herein;

       It is, pursuant to Fed. R. Civ. P. 54, hereby

       ORDERED, that the motion is granted, and the deadline for filing a motion relating to an

award of attorneys’ fees and costs shall be stayed pending the outcome of any appeal of this

Court’s March 20, 2020 memorandum opinion and order granting Defendants’ motion for

summary judgment and denying Plaintiffs’ motion for summary judgment; and

       FURTHER ORDERED that, in the event Plaintiffs do not appeal, Plaintiffs will file

their motion for attorneys’ fees and costs within 90 days of the Court’s March 20, 2020

memorandum opinion and order.

       SO ORDERED, this ________ day of ______________, 2019.


                                                            _____________________________
                                                            HON. RICHARD J. LEON
                                                            United States District Judge
